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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                          1/22/2020
THE MANAGEMENT GROUP, LLC,                                :
                                                          :
                                        Plaintiff,        :
                                                          :        19-cv-4917 (VSB)
                      -against-                           :
                                                          :             ORDER
HOLIDAYNET, LLC and GODADDY,                              :
INC.,                                                     :
                                                          :
                                        Defendants. :
                                                          X
----------------------------------------------------------

VERNON S. BRODERICK, United States District Judge:

        On January 17, 2020, Plaintiff submitted a notice of voluntary dismissal

Stating that it “voluntarily dismisse[d] this action with prejudice as to the possession of

the domain names at issue, subject to” an attached settlement agreement. (Doc. 46) The Clerk’s

Office did not terminate the case but instead forwarded the notice to my chambers on the basis

that it sought “Other Relief.”

        The settlement agreement contains the following introductory language, which is not

stricken out:

        This SETTLEMENT AGREEMENT (this “Agreement?) is entered into, as
        of January 7, 2020, by and among The Management Goup [sic], LLC (“TMG”),
        Holidaynet LLC (“Holidaynet”) and GoDaddy.com, Inc. (“Godaddy,” incorrectly named
        herein as Godaddy, Inc.”) (the “Parties” and each as a “Party”).

        The settlement agreement also contains a signature block for GoDaddy.com, but the

block is stricken and does not contain a signature. Later that day, Defendant GoDaddy.com

submitted a letter clarifying that it was not a party to the settlement agreement.
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       Accordingly, it is hereby:

       ORDERED that within 30 days, Plaintiff shall submit (1) a revised Notice of Voluntary

Dismissal that clarifies which claims and which parties it intends to dismiss from the case, and

(2) a revised settlement agreement that accurately reflects the parties to the agreement. If

Plaintiff does not do so, I will dismiss the action without costs to any party and without

prejudice.

SO ORDERED.

Dated: January 22, 2020
       New York, New York

                                                     ______________________
                                                     Vernon S. Broderick
                                                     United States District Judge
